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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

 TERRY BLASINGAME,                        )
 individually and on behalf of all        ) No. 1:24-cv-00648-RGA
 others similarly situated,               )
                                          )
                    Plaintiff,            )
       v.                                 )
                                          )
 MALIBU BOATS, LLC, a Delaware            )
 Limited Liability Company and            )
 MALIBU BOATS, INC., a                    )
 Delaware Corporation,                    )

                    Defendants.



                             SCHEDULING ORDER


      WHEREAS, the Court permitted the Parties to engage in mediation after the

filing of Plaintiff’s Complaint, but mediation was unsuccessful at this time;

      WHEREAS, the Parties have requested that the following deadlines be set by

the Court;

      NOW THEREFORE, the Court orders the schedule as set forth below:

 Event                                      Date
 Plaintiff to file an Amended Complaint     March 17, 2025

 Defendants to respond to the Amended April 7, 2025
 Complaint
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SO ORDERED.



          March 4
Dated: _________________, 2025

                                              /s/ Richard G. Andrews
                                             ______________________________
                                             HON. RICHARD G. ANDREWS
                                             UNITED STATES DISTRICT




                                       2
